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                                   EXHIBIT A

                                 Proposed Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re                                                                   Chapter 11

     STANADYNE LLC, et al.,1                                                 Case No. 23-10207 (TMH)

                        Debtors.                                             (Jointly Administered)

                                                                             Docket Ref No. ____



                               ORDER AUTHORIZING THE DEBTORS TO
                                ABANDON THE WINDSOR PROPERTY
                                                                         2
             Upon consideration of the motion (the “Motion”) of the Debtors for entry of an order,

pursuant to sections 105(a) and 554(a) of the Bankruptcy Code and Bankruptcy Rule 6007,

authorizing the Debtors to abandon the Windsor Property; and upon consideration of all pleadings

related thereto and all prior proceedings before this Court; and due and proper notice of the Motion

having been given; and it appearing that no other or further notice of the Motion is required; and

it appearing that the Court has jurisdiction to consider the Motion in accordance with 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated as of February 29, 2012; and it appearing that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding

and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that the relief

requested in the Motion and provided for herein is in the best interest of the Debtors, their estates,

and their creditors; and the Court finding that the Debtors’ abandonment of the Windsor Property



1.           The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
             identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT
             Holdings, Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are
             located at 405 White Street, Jacksonville, North Carolina 28546.

2.           Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Motion.


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does not pose an imminent threat to public health or safety; and after due deliberation and sufficient

cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The abandonment of the Windsor Property by Debtor Stanadyne LLC is approved

pursuant to sections 105(a) and 554(a) of the Bankruptcy Code.

       3.      The Windsor Property shall be deemed abandoned effective as of the entry of this

Order, and the Debtors shall not be liable for any obligations arising out of or related to the

Windsor Property after such time.

       4.      This Court shall retain exclusive jurisdiction with respect to all matters arising from

or relating to the implementation or interpretation of this Order.




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